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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  JOON BANG, RAZVAN VICTOR                      No. 2:15-cv-6945 (MCA)(LDW)
  BENGULESCU, GERALD BEZEMS,
  SCOTT CROCKETT, RIFAT
  GORENER, CHRISTOPHER LESIEUR,                 CLASS ACTION
  LAWRENCE MARCUS, and MIKHAIL
  SULEYMANOV, individually and on
  behalf of others similarly situated,

               Plaintiffs,

        vs.

  BMW OF NORTH AMERICA, LLC,
  BAVARIAN MOTOR WORKS, and
  DOES 1 through 10, inclusive,

               Defendants.

         P]                  ORDER GRANTING FINAL APPROVAL OF

                             CLASS ACTION SETTLEMENT

        WHEREAS, this matter has come before the Court pursuant to Plaintiffs’

  Unopposed Motion for Final Approval of the Class Action Settlement (the

  “Motion”);

        WHEREAS, the Court finds that it has jurisdiction of this Action;
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        WHEREAS, on May 11,2018, this Court granted Plaintiffs’ Motion for

  Preliminary Approval of the Class Action Settlement (the “Preliminary Approval

  Order”);’

        WHEREAS, the Settlement Class conditionally certified in the Preliminary

  Approval Order has been appropriately certified for settlement purposes only;

        WHEREAS, the Court held a hearing on September 10, 2018 to consider

  the fairness, reasonableness, and adequacy of the Settlement Agreement, has been

  advised of all objections to the settlement, and has given fair consideration to all

  objections;

        WHEREAS, the Court has considered the Motion, the Settlement

  Agreement (including its exhibits), and objections to the proposed settlement; and

        WHEREAS, the Court otherwise fully advised in the premises and has

  considered the record of these proceedings, the representations, arguments, and

  recommendations of counsel for the parties, and the requirements of law.

        NOW, THEREFORE, IT IS ON THIS H’
                                                                       c1
                                                            DAY OF__________

  20 iS, ORDERED THAT:

         1.     The terms of the Settlement Agreement are approved. The Settlement

  is in all respects fair. reasonable, adequate, and proper, and in the best interest of



   Capitalized terms that are not otherwise defined herein are defined in the
  Settlement Agreement.

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  the Settlement Class. In reaching this conclusion, the Court has considered a

  number of factors, including an assessment of the likelihood that the Class

  Representatives would prevail at trial; the range of possible recovery; the

  consideration provided to Settlement Class Members as compared to the range of

  possible recovery discounted for the inherent risks of litigation; the complexity,

  expense, and possible duration of litigation in the absence of a settlement; the

  nature and extent of any objections to the settlement; and the stage of proceedings

  at which the settlement was reached. The proposed settlement was entered into by

  experienced counsel and only after extensive arrns’-length negotiations. The

  proposed settlement is not the result of collusion. It was entered into in good faith,

  is reasonable, fair, and adequate, and is in the best interest of the Settlement Class.

  Class Counsel and the Class Representatives have fairly and adequately

  represented the Settlement Class.

        2.   Consistent with its Preliminary Approval Order, the Court hereby grants

  class certification of the following Settlement Class for purposes of final approval:

             All persons or entities in the United States, the District of
             Columbia, and Puerto Rico who currently own or lease, or
             previously owned or leased, model-year 2009 through 2014
             BMW 5 Series, 6 Series, 7 Series, X5 or X6 vehicles that
             contain the N63 engine. Excluded from the Class are:
             Defendants, as well as Defendants’ affiliates, employees,
             officers, and directors, attorneys, agents, insurers, third-party
             providers of extended warranty/service contracts, franchised
             dealers, independent repair/service facilities, fleet owners
             and operators, rental companies and vehicles, the attorneys
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             representing Defendants in this case, the Judges and
             Mediator to whom this case is assigned and their immediate
             family members, all persons who request exclusion from
             (opt-out of) the Settlement, vehicles deemed a total loss,
             anyone claiming personal injury, property damage other than
             to a Class Vehicle or subrogation, all persons who previously
             released any claims encompassed in this Settlement, and
             vehicles transported outside the United States.


        3. With respect to the proposed Settlement Class, this Court has determined

  that, for purposes of settlement of the Action only, Plaintiffs have satisfied each of

  the Rule 23(a) prerequisites.

             a. The Class Members are so numerous that joinder of all members is

     impracticable. Fed. R. Civ. P. 23(a)(l).

            b. There are questions of law or fact common to the Settlement Class.

     Fed. R. Civ. P. 23(a)(2). Common questions of law or fact include: (1) whether

     the Class Vehicles were subject to a common design defect; (2) whether

     Defendants failed to adequately disclose material facts related to the Class

     Vehicles prior to sale; (3) whether Defendants’ conduct was unlawful; and (4)

     how any resulting monetary damages to consumers should be calculated.

            c. The claims of the Class Representatives are typical of the claims of

     the Settlement Class. Fed. R. Civ. P. 23(a)(3). They have alleged that

     Defendants sold defective vehicles and failed to disclose (or to adequately

     disclose) material facts to all members of the Settlement Class.


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              d. The Class Representatives and Class Counsel have fairly and

     adequately protected the interests of the Settlement Class. Fed. R. Civ. P.

     23(a)(4). The Class Representatives do not have interests that are antagonistic

     to the Settlement Class and are fully aligned with the interests of other

     Settlement Class Members. Class Counsel has vigorously pursued this action on

     behalf of the Class Representatives and Settlement Class. Accordingly, the

     Court finds that the Class Representatives have satisfied Rule 23(a) for

     purposes of evaluating the settlement.

         4.     The Court also “finds that the questions of law or fact common to

  class members predominate over any questions affecting only individual

  members,” and that “a class action is superior to other available methods for fairly

  and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Here,

  Settlement Class Members share a common legal grievance arising from

  Defendants’ alleged failure to disc’ose or adequately disclose material facts about

  the Class Vehicles. Common legal and factual questions predominate over any

  individual questions that may exist for purposes of this settlement, and the fact that

  the Parties are able to resolve the case on terms applicable to all Settlement Class

  Members underscores the predominance of common legal and factual questions for

  purposes of this settlement. In concluding that the Settlement Class should be

  certified pursuant to Rule 23(b)(3) for settlement purposes, the Court further finds


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   that a class action is superior for purposes of resolving these claims because

   individual class members have not shown any interest in individually controlling

  the prosecution of separate actions. Moreover, the cost of litigation likely outpaces

  the individual recovery available to any Settlement Class Members. See Fed. R.

  Civ. P. 23(b)(3)(A). Accordingly, the Court finds that, for purposes of this

  settlement, Rule 23(b)(3) has also been satisfied.

         5.     The Court finds that the notice program (i) satisfied the requirements

  of Rule 23(c)(3) and due process; (ii) was the best practicable notice under the

  circumstances; (iii) reasonably apprised Settlement Class Members of the

  pendency of the action and their right to object to the proposed settlement or opt

  out of the Settlement Class; and (iv) was reasonable and constituted due, adequate,

  and sufficient notice to all those entitled to receive notice. Additionally, the Notice

  adequately informed Settlement Class Members of their rights in the Action. Fed.

  R. Civ. P. 23(c)(2).

         6.    The Court hereby enters a judgment of dismissal, pursuant to Fed. R.

  Civ. P. 54(b), of the claims by the Settlement Class Members, with prejudice and

  without costs, except as specified in this order, and except as provided in the

  Court’s order related to Plaintiffs’ motion for attorneys’ fees, expenses, and

  incentive awards. The Clerk of Court is directed to close this docket.




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         7.    Pursuant to the Settlement Agreement, the Class Representatives and

   Settlement Class Members forever release, discharge, and covenant not to sue the

  Released Parties regarding any of the Released Claims. With respect to all

  Released Claims, the Class Representatives and the Settlement Class Members

  expressly waive and relinquish the Released Claims to the fullest extent permitted

  by law. These releases apply even if the Class Representatives or Settlement Class

  Members subsequently discover facts in addition to or different from those which

  they now know or believe to be true.

         8.    A list of Settlement Class Members who have timely elected to opt

  out of the Settlement Class, and who therefore are not bound by the settlement or

  this Order, is attached to this Order as Exhibit A. All other members of the

  Settlement Class shall be subject to all of the provisions of the Settlement

  Agreement and this Order.

        9. The Court has considered each of the objections, finds that they are

  unpersuasive and therefore overrules all of them.

         10. Without any way affecting the finality of this Order, the Court retains

  jurisdiction over the Parties, including all Settlement Class Members, to construe

  and enforce the settlement for the mutual benefit of the Parties. The Court retains

  jurisdiction to enter any orders necessary or appropriate in implementing the

  Settlement Agreement, including but not limited to orders enjoining Settlement


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  Class Members from prosecuting Released Claims. Consistent with the Settlement

  Agreement, it is further ordered that Settlement Class Members are permanently

  barred from initiating, asserting, or prosecuting any Released Claims against any of

  the Released Persons in any federal or state court in the United States or any other

  tribunal.




                                         Honorable Madeline Cox Arleo
                                         United States District Judge




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